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8                        UNITED STATES DISTRICT COURT
9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   KIM LASSILA, an individual,                   Case No. 3:20-CV-01240-MMA-BLM
12                  Plaintiff,                     ORDER GRANTING JOINT
                                                   MOTION FOR VOLUNTARY
13        v.                                       DISMISSAL WITH PREJUDICE
14   FORCEPOINT, LLC, a Delaware                   [Doc. No. 13]
     Limited Liability Company,
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                    Defendant.
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18         Upon due consideration, good cause appearing, the Court GRANTS the
19   parties’ Joint Motion for Voluntary Dismissal and DISMISSES this action with
20   prejudice. The parties agree to each bear their own fees and costs. The Court
21   DIRECTS the Clerk of Court to close the case.
22         IT IS SO ORDERED.
23   DATE: November 5, 2020
24                                                 HON. MICHAEL M. ANELLO
                                                   United States District Judge
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